Case 1:11-cv-03238-RM-KMT Document 46 Filed 09/24/12 USDC Colorado Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Judge Philip A. Brimmer

  Civil Action No. 11-cv-03238-PAB-KMT

  SAMUEL M. WALKER and
  DIANE H. WALKER,

         Plaintiffs,

  v.

  FRED WEGENER, individual and official capacity, et al.,

       Defendants.
  _____________________________________________________________________

                                  ORDER
  _____________________________________________________________________

         This matter is before the Court on the Recommendation of United States

  Magistrate Judge (the “Recommendation”) [Docket No. 43]. The magistrate judge

  recommends that the Court grant in part and deny in part defendants’ motions to

  dismiss [Docket Nos. 14, 15].

         More specifically, the magistrate judge recommends that plaintiffs’ official

  capacity and municipal liability, Eighth Amendment, self-incrimination, takings clause,

  and due process claims be dismissed. The magistrate judge further recommends that

  plaintiffs’ Fourth Amendment claims be dismissed to the extent they relate to searches

  of plaintiffs’ property on December 15, 16, and 17, 2009, but that plaintiff’s Fourth

  Amendment claim relating to the January 11, 20101 search of their property be allowed

  to proceed. Plaintiffs filed objections to the Recommendation on September 17, 2012



         1
           Although there are indications in the record that the search may have happened
  at a later date, plaintiffs allege that the search occurred on January 11, 2010.
Case 1:11-cv-03238-RM-KMT Document 46 Filed 09/24/12 USDC Colorado Page 2 of 5




  [Docket No. 45]. Because plaintiffs are proceeding pro se, the Court has liberally

  construed their pleadings. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972); Hall v.

  Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). It is difficult to discern from plaintiffs’

  filings to what extent they object to the Recommendation. The Court, nevertheless, has

  reviewed the matter de novo, see Fed. R. Civ. P. 72(b)(3), and will adopt the

  Recommendation in full.

         Defendants object to the Court adopting the Recommendation, arguing that

  plaintiffs’ Fourth Amendment claim relating to the January 11, 2010 search of their

  property should be dismissed. In support of that argument, defendants have submitted

  documentary evidence for the Court’s consideration, see Fed. R. Civ. P. 72(b)(3) (“The

  district court may . . . receive further evidence.”), including the search warrant which

  was specifically referenced in the complaint and central to plaintiffs’ claim regarding the

  January 11 search. See Jacobsen v. Deseret Book Co., 287 F.3d 936, 941 (10th Cir.

  2002) (“[T]he district court may consider documents referred to in the complaint if the

  documents are central to the plaintiff’s claim and the parties do not dispute the

  documents’ authenticity.”). Defendants, however, have also asked that the Court

  consider a recently drafted affidavit that attempts to raise a material dispute of fact.

  See Docket No. 44-5.2

         The Court finds that, on the present record, defendants’ motions to dismiss must



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           The search warrant indicates that police were searching plaintiffs’ property for
  six deceased dogs of a particular breed. See Docket No. 44-4 at 3. Plaintiffs allege
  that, after locating the dogs referenced in the warrant, the police continued searching
  and removed thirty-five additional dogs. See Docket No. 1 at 20 ¶ 176, 27 ¶ 228. The
  affidavit supplied by defendants disputes these allegations.

                                               2
Case 1:11-cv-03238-RM-KMT Document 46 Filed 09/24/12 USDC Colorado Page 3 of 5




  be denied to the extent they seek dismissal of plaintiffs’ Fourth Amendment claim

  relating to the January 11, 2010 search of the property. However, because both parties

  have since supplied evidence on this claim, cf. Docket No. 45 at 17, the Court will

  permit defendants to file a motion for summary judgment within thirty days of entry of

  this order.

         For the foregoing reasons, it is

         ORDERED that the Recommendation of United States Magistrate Judge [Docket

  No. 43] is ACCEPTED and ADOPTED. It is further

         ORDERED that defendants’ motions to dismiss [Docket Nos. 14, 15] are

  GRANTED in part and DENIED in part as follows.

         1. The “Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6)” [Docket No. 14]

         is DENIED to the extent that it seeks to dismiss plaintiffs’ claims in their entirety

         pursuant to Heck v. Humphrey, 512 U.S. 477 (1994), and DENIED as moot to

         the extent that it seeks to dismiss plaintiffs’ claims premised on the following

         criminal statutes: 18 U.S.C. §§ 241-241, 371, 1001, and 2234, and is GRANTED

         to the extent that it seeks to dismiss plaintiffs’ official capacity and municipal

         liability claims, Eighth Amendment claims, and Fifth Amendment claims for

         violation of their rights against self-incrimination.

         2. The “Individual Defendants’ Motion to Dismiss Pursuant to Fed. R. Civ. P.

         12(b)(1)” is DENIED to the extent that it seeks to dismiss plaintiffs’ Fourth

         Amendment claims relating to the January 11, 2010 search of their property, and

         GRANTED to the extent that it seeks to dismiss plaintiffs’ Fourth and Fourteenth

         Amendment claims alleging violations of their rights under the takings and due

                                                 3
Case 1:11-cv-03238-RM-KMT Document 46 Filed 09/24/12 USDC Colorado Page 4 of 5




        process clauses, Eighth Amendment claims, Fifth Amendment claims alleging

        violations of their rights against self-incrimination, and Fourth Amendment claims

        relating to the December 15, 16, and 17, 2009 searches of plaintiffs’ property.

        It is further

        ORDERED that plaintiffs’ “Opposed Motion for One Time Amendment of

  Plaintiffs’ Complaint as a Matter of Course” [Docket No. 33] is GRANTED in part and

  DENIED in part as follows:

        1. The motion to amend [Docket No. 33] is GRANTED, and the plaintiffs’

        proposed first amended complaint [Docket No. 33-1] is accepted as filed, to the

        extent that it seeks to (1) remove claims premised on the following statutes: 18

        U.S.C. §§ 241-242, 371, 1001, and 2234; and (2) assert claims for violation of

        the Fourth Amendment based on the January 11, 2010 search of plaintiffs’

        property.

        2. The motion to amend [Docket No. 33] is DENIED, and plaintiffs’ proposed first

        amended complaint is rejected, to the extent that it seeks to assert (1) claims

        against defendants in their official capacities and for municipal liability, (2) claims

        for violations of plaintiffs’ Eighth Amendment rights, (3) claims for violations of

        plaintiffs’ Fifth Amendment rights against self-incrimination, (4) claims for

        violations of the Fifth Amendment’s takings clause and the Fourteenth

        Amendment’s due process clause, (5) claims for violations of the Fourth

        Amendment based on the December 15, 16, and 17, 2009, searches of plaintiffs’

        property, (6) claims against proposed defendants Tighe, Hodges, and Dowaliby,

        and (7) claims against former defendants Suthers and McLimans.

                                               4
Case 1:11-cv-03238-RM-KMT Document 46 Filed 09/24/12 USDC Colorado Page 5 of 5




           It is further

           ORDERED that defendants are granted leave to file a motion for summary

  judgment as to plaintiff’s Fourth Amendment claim within thirty days of entry of this

  order.


           DATED September 24, 2012.

                                    BY THE COURT:


                                     s/Philip A. Brimmer
                                    PHILIP A. BRIMMER
                                    United States District Judge




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